AO 106 (Rev. Case:    4:21-mj-03282-NCC
             06/09) Application for a Search Warrant   Doc. #: 1 Filed: 12/01/21 Page: 1 of 24 PageID #: 1


                                      UNITED STATES DISTRICT COURT
                                                                 for the
                                                      Eastern District
                                                   __________  Districtofof
                                                                          Missouri
                                                                            __________

             In the Matter of the Search of                               )
                                                                          )
                                                                                   Case No.              4:21 MJ 3282 NCC
     INFORMATION ASSOCIATED WITH THE CELLULAR                             )
     DEVICE ASSIGNED CALL NUMBER (314) 546-3281,                          )                          6,*1('$1'68%0,77('727+(&2857)25
     THAT IS STORED AT PREMISES CONTROLLED BY T-                          )                          ),/,1*%<5(/,$%/((/(&7521,&0($16
     MOBILE.                                                              )

                                          APPLICATION FOR A SEARCH WARRANT
            Kassandra L. McKenzie, FBI
        I, __________________________________,         a federal law enforcement officer or an attorney for the government
request a search warrant and state under penalty of perjury that I have reason to believe that on the following property:

                                                         SEE ATTACHMENT A

located in the                                District of                 NEW JERSEY                        , there is now concealed

                                                              SEE ATTACHMENT B

         The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
              ✔ evidence of a crime;
              u
              ✔ contraband, fruits of crime, or other items illegally possessed;
              u
                 ✔ property designed for use, intended for use, or used in committing a crime;
                 u
                 u a person to be arrested or a person who is unlawfully restrained.
         The search is related to a violation of:
            Code Section                                                                 Offense Description
             18 U.S.C. § 924(b);                        Interstate transport of a firearm with the intent to use the firearm for a felony offense;
             18 U.S.C. § 922(g)(4);                     Possession of a firearm by a person previously committed to a mental institution;
             18 U.S.C. § 2261(A)                        Interstate Stalking

         The application is based on these facts:
                                  SEE ATTACHED AFFIDAVIT WHICH IS INCORPORATED HEREIN BY REFERENCE

          ✔ Continued on the attached sheet.
          u
          u Delayed notice of       days (give exact ending date if more than 30 days:                                                    ) is requested
            under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.
                                                                                  ,VWDWHXQGHUWKHSHQDOW\RISHUMXU\WKDWWKHIROORZLQJLVWUXHDQGFRUUHFW


                                                                                                           Applicant’s signature
                                                                               Kassandra L. McKenzie
                                                                               Special Agent, FBI
                                                                                                          Printed name and title

                                                                          6ZRUQWRDWWHVWHGWRDQGDIILUPHGEHIRUHPHYLDUHOLDEOH 
                                                             HOHFWURQLFPHDQVSXUVXDQWWR)HGHUDO5XOHVRI&ULPLQDO3URFHGXUHDQG
Date:
                 December 1, 2021
                                                                                                             Judge’s signature
City and state:
                    St. Louis, MO                                              Honorable Noelle C, Collins, U.S. Magistrate Judge
                                                                                                                 Printed name and title


                                                                                                    AUSA: C. Ryan Finlen, #6305918(IL)
  Case: 4:21-mj-03282-NCC Doc. #: 1 Filed: 12/01/21 Page: 2 of 24 PageID #: 2




                                      ATTACHMENT A

                                   Property to Be Searched

         This warrant applies to records and information associated with the cellular telephone

assigned call number (314) 546-3281 (the “SUBJECT ACCOUNT”), that are stored at premises

controlled by T-Mobile (the “Provider”), headquartered at 4 Sylvan Way, Parsippany, New Jersey,

07054.
Case: 4:21-mj-03282-NCC Doc. #: 1 Filed: 12/01/21 Page: 3 of 24 PageID #: 3




                                   ATTACHMENT B

                             Particular Things to be Seized

I.      Information to be Disclosed by the Provider

     To the extent that the information described in Attachment A is within the possession,

custody, or control of the Provider, including any information that has been deleted but is still

available to the Provider or that has been preserved pursuant to a request made under 18 U.S.C.

§ 2703(f), the Provider is required to disclose to the government the following information

pertaining to the Account listed in Attachment A for the time period September 1, 2021, to

September 27, 2021:

        a. The following information about the customers or subscribers of the Account:

                i. Names (including subscriber names, user names, and screen names);

               ii. Addresses (including mailing addresses, residential addresses, business

                   addresses, and e-mail addresses);

              iii. Local and long distance telephone connection records;

               iv. Records of session times and durations, and the temporarily assigned

                   network addresses (such as Internet Protocol (“IP”) addresses) associated

                   with those sessions;

               v. Length of service (including start date) and types of service used;

               vi. Telephone or instrument numbers (including MAC addresses, Electronic

                   Serial Numbers (“ESN”), Mobile Electronic Identity Numbers (“MEIN”),

                   Mobile Equipment Identifier (“MEID”); Mobile Identification Number

                   (“MIN”), Subscriber Identity Modules (“SIM”), Mobile Subscriber

                   Integrated Services Digital Network Number (“MSISDN”); International

                                             2
  Case: 4:21-mj-03282-NCC Doc. #: 1 Filed: 12/01/21 Page: 4 of 24 PageID #: 4




                        Mobile Subscriber Identity Identifiers (“IMSI”), or International Mobile

                        Equipment Identities (“IMEI”);

                   vii. Other subscriber numbers or identities (including the registration Internet

                        Protocol (“IP”) address); and,

                  viii. Means and source of payment for such service (including any credit card or

                        bank account number) and billing records.

            b. All records and other information (not including the contents of communications)

                relating to wire and electronic communications sent or received by the Account,

                including:

                    i. the date and time of the communication, the method of the communication,

                        and the source and destination of the communication (such as the source

                        and destination telephone numbers (call detail records), email addresses,

                        and IP addresses);

                    ii. information regarding the cell tower and antenna face (also known as

                        “sectors”) through which the communications were sent and received; and,

                   iii. Timing advanced data, per call measurement data, TruCall data, or any

                        other similar data that reflects a precise location of the cellular device.

   II.      Information to be Seized by the Government

         All information described above in Section I that constitutes evidence, fruits, contraband,

and instrumentalities of violations of Title 18, United States Code, Sections 924(b), 922(g)(4), and

2261A, during the period of September 1, 2021 and September 27, 2021.

         Law enforcement personnel (who may include, in addition to law enforcement officers and

agents, attorneys for the government, attorney support staff, agency personnel assisting the

                                                   3
  Case: 4:21-mj-03282-NCC Doc. #: 1 Filed: 12/01/21 Page: 5 of 24 PageID #: 5




government in this investigation, and outside technical experts under government control) are

authorized to review the records produced by the Provider in order to locate the things particularly

described in this Warrant.




                                                 4
  Case: 4:21-mj-03282-NCC Doc. #: 1 Filed: 12/01/21 Page: 6 of 24 PageID #: 6




                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

 IN THE MATTER OF THE SEARCH OF                      Case No. 4:21 MJ 3282 NCC
 INFORMATION ASSOCIATED WITH THE
 CELLULAR DEVICE ASSIGNED CALL                       FILED UNDER SEAL
 NUMBER (314) 546-3281, THAT IS
 STORED AT PREMISES CONTROLLED                       SIGNED AND SUBMITTED TO THE COURT FOR
                                                     FILING BY RELIABLE ELECTRONIC MEANS
 BY T-MOBILE.


                            AFFIDAVIT IN SUPPORT OF
                     AN APPLICATION FOR A SEARCH WARRANT

       I, Kassandra L. McKenzie, being first duly sworn, hereby depose and state as follows:

                     INTRODUCTION AND AGENT BACKGROUND

       1. I make this affidavit in support of an application for a search warrant for information

associated with a certain cellular telephone assigned call number (314) 546-3281 (“the SUBJECT

PHONE”), that is stored at premises controlled by T-Mobile (hereinafter the “Provider”), a

wireless telephone service provider headquartered at 4 Sylvan Way, Parsippany, New Jersey,

0705. The information to be searched is described in the following paragraphs and in Attachment

A. This affidavit is made in support of an application for a search warrant under 18 U.S.C. §

2703(c)(1)(A) to require T-Mobile to disclose to the government copies of the information further

described in Section I of Attachment B. Upon receipt of the information described in Section I of

Attachment B, government-authorized persons will review the information to locate items

described in Section II of Attachment B.

       2. I am a Special Agent with the FBI and have been so employed since July 2015. I am

assigned to the violent crime squad, which is a part of the Safe Streets Violent Crime Task Force

(hereinafter “SSVCTF”), which is a multi-agency Federal, State, and Local task force, of the Saint


                                                1
   Case: 4:21-mj-03282-NCC Doc. #: 1 Filed: 12/01/21 Page: 7 of 24 PageID #: 7




Louis Division of the FBI. As such, I investigate violent crimes such as carjackings, robberies,

firearms violations, serial killings, extortions, and murders for hire. The facts in this affidavit come

from my personal observations, my training and experience, and information obtained from other

members of the investigative team and witnesses. The facts in this affidavit come from my personal

observations, my training and experience, and information obtained from other agents and

witnesses. This affidavit is intended to show merely that there is sufficient probable cause for the

requested warrant and does not set forth all of my knowledge about this matter.

        3. In my role as a Special Agent with the FBI, I have used investigation techniques

involving the tracking of suspects engaged in criminal activity through investigation of their

internet activity, cellular phone activity, and social media activity. I have received at least annual

training on the tools used by suspects engaged in criminal activity to document and further that

criminal activity. Furthermore, I have applied for, received, and executed search warrant for

historical cellular location data in furtherance of criminal investigations. I have also assisted fellow

law enforcement agents in doing the same as part of my regular activities as a Special Agent with

the FBI.

        4. The facts in this affidavit come from my personal observations, my training and

experience, and information obtained from other agents and witnesses. This affidavit is intended

to show merely that there is sufficient probable cause for the requested warrant and does not set

forth all of my knowledge about this matter.

        5. Based on the facts set forth in this affidavit, there is probable cause to believe that

evidence of violations of Title 18, United States Code, Section 924(b) (interstate transport of a

firearm with the intent to use the firearm for a felony offense), Title 18, United States Code, Section

922(g)(4) (possession of a firearm by a person previously committed to a mental institution) and

                                                   2
   Case: 4:21-mj-03282-NCC Doc. #: 1 Filed: 12/01/21 Page: 8 of 24 PageID #: 8




Title 18, United States Code, Section 2261A (Interstate Stalking) will be found in the location set

forth in Attachment A. There is also probable cause to search the information described in

Attachment A for evidence of these crimes as further described in Attachment B.

                                           JURISDICTION

        6. This Court has jurisdiction to issue the requested warrant because it is “a court of

competent jurisdiction” as defined by 18 U.S.C. § 2711. 18 U.S.C. §§ 2703(a), (b)(1)(A) &

(c)(1)(A). Specifically, the Court is “a district court of the United States . . . that – has jurisdiction

over the offense being investigated.” 18 U.S.C. § 2711(3)(A)(i).

                 BACKGROUND RELATING TO WIRELESS PROVIDERS

        7. In my training and experience, I have learned that the Provider is a company that

provides cellular telephone access to the general public. I also know that providers of cellular

telephone service have technical capabilities that allow them to collect and generate information

about the locations of the cellular telephones to which they provide service, including cell-site

data, also known as “tower/face information” or “cell tower/sector records.” Cell-site data

identifies the “cell towers” (i.e., antenna towers covering specific geographic areas) that received

a radio signal from the cellular telephone and, in some cases, the “sector” (i.e., faces of the towers)

to which the telephone connected. These towers are often a half-mile or more apart, even in urban

areas, and can be 10 or more miles apart in rural areas. Furthermore, the tower closest to a wireless

device does not necessarily serve every call made to or from that device. Accordingly, cell-site

data provides an approximate location of the cellular telephone but is typically less precise than

other types of location information, such as E-911 Phase II data or Global Positioning Device

(“GPS”) data.



                                                    3
  Case: 4:21-mj-03282-NCC Doc. #: 1 Filed: 12/01/21 Page: 9 of 24 PageID #: 9




       8. Based on my training and experience, I know that wireless providers can collect cell-site

data about the Subject phone. I also know that wireless providers such as typically collect and

retain cell-site data pertaining to cellular phones to which they provide service in their normal

course of business in order to use this information for various business-related purposes.

       9. Based on my training and experience, I know that wireless providers typically collect

and retain information about their subscribers in their normal course of business. This information

can include basic personal information about the subscriber, such as name and address, and the

method(s) of payment (such as credit card account number) provided by the subscriber to pay for

wireless telephone service. I also know that wireless providers typically collect and retain

information about their subscribers’ use of the wireless service, such as records about calls or other

communications sent or received by a particular phone and other transactional records, in their

normal course of business. In my training and experience, this information may constitute evidence

of the crimes under investigation because the information can be used to identify the Subject

phone’s user or users and may assist in the identification of co-conspirators and/or victims.

       10. Because the cellular device generally attempts to communicate with the closest

unobstructed tower, by reviewing the above-described information, your affiant and other law

enforcement officers can determine the approximate geographic area from which the

communication originated or was received.

       11. Wireless providers may also retain text messaging logs that include specific

information about text and multimedia messages sent or received from the account, such as the

dates and times of the messages. A provider may also retain information about which cellular

handset or device was associated with the account when the messages were sent or received. The

provider could have this information because each cellular device has one or more unique

                                                  4
 Case: 4:21-mj-03282-NCC Doc. #: 1 Filed: 12/01/21 Page: 10 of 24 PageID #: 10




identifiers embedded inside it. Depending upon the cellular network and the device, the embedded

unique identifiers for a cellular device could take several different forms, including an Electronic

Serial Number (“ESN”), a Mobile Electronic Identity Number (“MEIN”), a Mobile Identification

Number (“MIN”), a Subscriber Identity Module (“SIM”), an International Mobile Subscriber

Identifier (“IMSI”), or an International Mobile Station Equipment Identity (“IMEI”). When a

cellular device connects to a cellular antenna or tower, it reveals its embedded unique identifiers

to the cellular antenna or tower in order to obtain service, and the cellular antenna or tower records

those identifiers as a matter of course.

       12. Wireless providers also maintain business records and subscriber information for

particular accounts. This information could include the subscribers’ full names and addresses, the

address to which any equipment was shipped, the date on which the account was opened, the length

of service, the types of service used, the ESN or other unique identifier for the cellular device

associated with the account, the subscribers’ Social Security Numbers and dates of birth, all

telephone numbers and other identifiers associated with the account, and a description of the

services available to the account subscribers. In addition, wireless providers typically generate and

retain billing records for each account, which may show all billable calls (including outgoing digits

dialed). The providers may also have payment information for the account, including the dates and

times of payments and the means and source of payment (including any credit card or bank account

number).

                                       PROBABLE CAUSE

                            St. Louis, Missouri .40 Caliber Shootings

       13. St. Louis County Police Department (“SLCPD”), and the St. Louis Metropolitan Police

Department (“SMLPD”) requested FBI assistance to investigate a series of linked shootings.

                                                  5
 Case: 4:21-mj-03282-NCC Doc. #: 1 Filed: 12/01/21 Page: 11 of 24 PageID #: 11




SLCPD, SLMPD, and the FBI jointly investigated the matter. I have reviewed police reports

regarding each incident as well as attended briefings with investigators documenting their findings

and observations during the course of this investigation. Based on my involvement with this

investigation, I determined the following:

       14. On September 12, 2021, at approximately 21:04 hours, victim L. M. was shot at a bus

stop located at 1624 Chambers Road, Saint Louis County, Missouri. Investigators informed me

that their interviews of witnesses and review of surveillance video revealed that while the victim

was waiting for a bus, a subject approached him from behind and shot him several times without

any warning. Investigators further informed me that, at the scene, investigators located several .40

S&W caliber cartridge casings.

       15. On September 13, 2021, at approximately 21:34 hours, Victim M. H. was murdered in

the 9900 block of Glen Owen Drive, Saint Louis County, Missouri 63136. Saint Louis County

Police Department (“SLCPD”) officers informed me that they had responded to a ShotSpotter call

at this location for two gunshots heard when they located Victim M. H., who suffered from gunshot

wounds to her arm and head. SLCPD officers further informed me that two “Sig” stamped, .40

S&W caliber, cartridge cases were recovered from the scene.

       16. On September 16, 2021, at approximately 22:23 hours, Victim R.H. was shot in the

rear of 4542 Adelaide Avenue, Saint Louis, Missouri 63115. St. Louis Metropolitan Police

Department (“SLMPD”) officers informed me that they had responded to a shooting at the BP gas

station 4126 West Florissant Avenue where they located Victim R.H. who suffered from a gunshot

wound to the face. Victim R.H. was conscious and breathing but unable to provide a statement.

Victim R.H. was transported to the hospital where she was admitted to the Intensive Care Unit.

SLMPD officers informed me that they followed a blood trail that led to the rear of 4542 Adelaide

                                                 6
 Case: 4:21-mj-03282-NCC Doc. #: 1 Filed: 12/01/21 Page: 12 of 24 PageID #: 12




Avenue. SLMPD Homicide Detective Scott Peniston, DSN 8863, later located one “Sig” stamped,

.40 S&W caliber, cartridge case at the scene.

       17. Also on September 16, 2021, at approximately 23:45 hours, Victim P. A. was murdered

in the 3800 block of West Florissant Avenue, Saint Louis, Missouri 63107. Based on my

familiarity with the St. Louis area and this investigation, I know that this location is approximately

one-half mile from 4542 Adelaide Avenue. SLMPD officers had responded to a “Call for Police-

Calling for Help” at this location when they located Victim P. A. who suffered from a gunshot

wound to the head. SLMPD officers further informed me that one “Sig” stamped, .40 S&W caliber,

cartridge case was seized from scene.

       18. On September 19, 2021, at approximately 12:10 hours, SLMPD officers responded to

a “Supposed Sudden Death” in the 1500 block of Mullanphy Street, Saint Louis, Missouri 63106.

Based on reports I reviewed and working with detectives involved, I learned that, upon arrival,

officers located Victim C. R. deceased and lying in a vacant lot within the stated block. Victim C.

R. sustained gunshot wounds to the head and body. Based upon the scene investigation,

investigators informed me that it appeared Victim C. R. had been deceased for an extended period

due to the fact apparent blood appeared dry. Investigators informed me that one “Sig” stamped,

.40 S&W caliber, cartridge case was seized from the scene. My review of other reports informed

me that on September 18, 2021, at approximately 23:52 hours, SLMPD officers received a

ShotSpotter call to this area for two gunshots heard; however, the victim was not located at that

time. No other ShotSpotter call was discovered at this location leading investigators to believe the

incident occurred on September 18 at approximately 23:52 hours.

       19. On September 26, 2021, at approximately 07:15 hours, Ferguson Police Officers

informed me that they responded to a Shotspotter call at, or near, 1710 Barbados Lane, Saint Louis

                                                  7
 Case: 4:21-mj-03282-NCC Doc. #: 1 Filed: 12/01/21 Page: 13 of 24 PageID #: 13




County, Missouri 63136. Upon arrival, they located victim L.R. deceased from gunshot wounds

to the head and hand. Based on their reports, I learned that investigators recovered two .40 caliber

cartridge cases at the scene.

       20. I have reviewed laboratory reports from the SLMPD Laboratory which reflected that

analysis later determined all cartridge cases noted herein were fired from the same firearm.

                                Murder of Victim D.I. in Kansas

       21. On or about November 1, 2021, the Kansas City, Kansas Police Department

discovered the body of Victim D.I. in his apartment located in the 900 block of Washington

Boulevard in Kansas City, Kansas. Investigators from the Kansas City, Kansas Police Department

informed me that they determined that Victim D.I. died as a result of gunshot wounds.

       22. I conducted records checks and discussions with other investigators and I learned that

on October 28, 2021, REED traveled from St. Louis City, Missouri, within the Eastern District of

Missouri to Kansas City, Missouri via Amtrak train. Documentation provided from Amtrak

regarding REED’s travel indicated that the train matching REED’s Amtrak itinerary arrived at

Union Station located at 30 West Pershing Road, Kansas City, Missouri at approximately 21:40

hours on October 28, 2021.

       23. Surveillance video provided to investigators and described to me, at approximately

23:11 hours (which is approximately 1.5 hours after REED’s train arrived at Union Station),

surveillance video from the apartment building located in the 900 block of Washington Boulevard,

in Kansas City, Kansas, depicted Victim D.I. hold the door open for REED as Victim D.I. and

REED entered the apartment building.

       24. At approximately 23:15 hours, Victim D.I. and REED are captured on surveillance

video entering Victim D.I.’s apartment together. KCKPD detectives performed interviews of

                                                 8
 Case: 4:21-mj-03282-NCC Doc. #: 1 Filed: 12/01/21 Page: 14 of 24 PageID #: 14




Victim D.I.’s family, which were summarized for me. In the interviews, the investigation team

learned the family was not able to contact Victim D.I. at any time after October 28, despite attempts

to do so in the days after October 28, 2021.

       25. Surveillance video from the apartment building located in the 900 block of

Washington Boulevard, in Kansas City, Kansas was provided to KCKPD investigators and

described to me. On October 29, 2021, at approximately 06:05 hours, video surveillance depicted

REED exiting Victim D.I.’s apartment alone. Victim D.I. was not seen leaving his apartment

between when he last entered on October 28, 2021 and when police find him deceased on

November 1, 2021.

       26. Based on my understanding of the Kansas City area, including the location of

Amtrak’s Union Station and the apartment building located in the 900 block of Washington

Boulevard, I know that using the fastest route between Union Station in Missouri and the apartment

building located in the 900 block of Washington Boulevard, in Kansas City, Kansas, the border

between Missouri and Kansas is approximately 3.6 miles away from Union Station. The apartment

building located at the 900 block of Washington Boulevard, in Kansas City, Kansas, is another 1.8

miles along the fastest route.

       27. In my training and experience, I believe that REED would NOT have been able to

acquire a firearm in the 1.5 hours between the time he arrived at Union Station and the time he

arrived in the 900 block of Washington Boulevard, especially given the late hour and the short

distance (approximately 1.8 miles) between the Missouri border and the apartment in Kansas.

Consequently, there is probable cause to believe that REED transported the firearm used to kill

Victim D.I. from St. Louis, Missouri, to Kansas.



                                                 9
 Case: 4:21-mj-03282-NCC Doc. #: 1 Filed: 12/01/21 Page: 15 of 24 PageID #: 15




                               Murder of Victim R.F. in Kansas

       28. On or about November 2, 2021, the Kansas City, Kansas Police Department informed

me that they were notified that the nude body of Victim R.F. was discovered inside her apartment,

located within the same apartment building in the 900 block of Washington Boulevard in Kansas

City, Kansas. Investigators determined that Victim R.F. died from gunshot wounds to her head

and upper back. At the time of discovery, investigators informed me that Victim R.F.’s cellular

telephone and wallet were missing from the apartment.

       29. Security staff at Victim R.F.’s apartment building documented that on October 29,

2021, Victim R.F. entered the building with a male subject who presented the Missouri drivers’

license of Perez REED. I reviewed a still image taken from surveillance video footage that captured

the subject was a black male with a crescent tattoo on his forehead.

       30. I reviewed booking records from prior arrests of REED and determined that he had a

crescent moon tattoo on his forehead.

       31. On October 29, 2021, at approximately 18:58 hours, surveillance video from the

apartment building located in the 900 block of Washington Boulevard captured REED entering

Victim R.F.’s apartment building. Thereafter, at approximately 19:16 hours, video surveillance

captured REED leaving the Victim R.F.’s apartment. Investigators reviewing the surveillance

video further informed me that Victim R.F. was not captured on surveillance video leaving her

apartment at any subsequent time.

       32. I reviewed reservation records of Amtrak and observed that during the booking

process, REED listed his phone number as 314-229-7441.

       33. I reviewed call detail records for the 314-229-7441 and determined that it

communicated with Victim R.F.’s known phone number approximately 652 times between

                                                10
 Case: 4:21-mj-03282-NCC Doc. #: 1 Filed: 12/01/21 Page: 16 of 24 PageID #: 16




October 5, 2021, and October 29, 2021. Records showed that approximately 42% of the

communications were outgoing from REED’s phone, whereas the remainder were incoming

communications from Victim R.F.’s phone. REED’s phone stopped calling Victim R.F.’s phone

after October 29, 2021.

       34. Investigators were unable to locate any witness who saw Victim R.F. alive after

October 29, 2021. Likewise, Victim R.F. was not seen on any surveillance video recordings after

she entered her apartment with the subject.

                    November 5, 2021 Possession of a .40 Caliber Firearm

       35. On or about November 5, 2021, REED purchased an Amtrak ticket to return from

Kansas City, Missouri to St. Louis, Missouri. The Amtrak train left Union Station at approximately

16:00 hours (the scheduled time) and was due to arrive at the St. Louis Gateway Station at

approximately 21:40 hours. Law enforcement agents conducted surveillance while aboard the

Amtrak train and kept me apprised of their observations throughout the night. Law enforcement

agents observed REED board the train. Rather than remain on the train to St. Louis, REED exited

at the first intermittent stop in Independence, Missouri. After exiting the train eight stops before

the destination on REED’s purchased itinerary, law enforcement observed that REED left the train

station and boarded a bus.

       36. Law enforcement agents decided to stop REED based on the facts above. When they

detained REED, agents discovered that REED had a loaded .40 caliber Smith & Wesson semi-

automatic firearm on his person. I have reviewed records from the SLMPD Laboratory which

reflected that forensic analysis concluded that the firearm was used in each of the six St. Louis

shootings outlined above.



                                                11
 Case: 4:21-mj-03282-NCC Doc. #: 1 Filed: 12/01/21 Page: 17 of 24 PageID #: 17




       37. On November 5, 2021, law enforcement agents advised REED of his Miranda rights

and REED agreed to answer questions. During his interview, I observed that REED stated the

following:

         a. REED found the .40 caliber Smith & Wesson semi-automatic handgun he had on his

             person in Jennings, Missouri (which is within the Eastern District of Missouri) and

             took the firearm to Kansas City, Kansas.

         b. REED confirmed that the (314) 229-7441 was the number assigned to his phone at the

             time of his arrest.

         c. REED admitted that he provided his identification to the security guard at the

             apartment building in Kansas City, Kansas.

         d. REED admitted to knowing Victim R.F. but stated that his relationship with Victim

             R.F. was limited to purchasing drugs from her.

However, REED denied hurting anybody before the interview was terminated.

       38. Investigators working with me obtained records from Universal Service Administrative

Company related to phone numbers provided to Perez REED in the LifeLine and Emergency

Broadband Benefit Plan. I reviewed those records and determined that Perez REED was assigned

(314) 546-3281, the SUBJECT PHONE, from July 26, 2021 through September 27, 2021.

       39. Investigators obtained call detail records for two of Perez REED’s family members

that he regularly communicated with on (314) 229-7441. I have reviewed their summaries of these

records. Both family members also communicated with (314) 546-3281, the SUBJECT PHONE,

multiple times prior to September 27, 2021.

       40. In light of the facts and circumstances above, Perez REED was charged via Complaint

in 4:21-MJ-7289-SPM with a violation of Title 18, United States Code, Section 924(b). This Court

                                               12
 Case: 4:21-mj-03282-NCC Doc. #: 1 Filed: 12/01/21 Page: 18 of 24 PageID #: 18




found there was probable cause to believe that on or about October 28, 2021, REED transported a

.40 caliber Smith & Wesson firearm and .40 caliber ammunition from St. Louis, Missouri in

interstate commerce to Kansas City, Kansas with the intent to commit a felony there with and with

knowledge and reasonable cause to believe that a felony would be committed with said firearm

and ammunition.

       41. Subsequently, Perez REED was indicted by a grand jury for a violation of Title 18,

United States Code, Section 922(g)(4) in the Eastern District of Missouri in 4:21-cr-00637-HEA-

JMB.

       42. Further, Title 18, United States Code, Section 2261A criminalizes traveling in interstate

commerce with the intent to kill, injure, harass, intimidate, etc., and placing another person in

reasonable fear of death or serious bodily injury.

       43. Based on the conduct described above, there is probable cause to believe that evidence

of violations of Title 18, United States Code, Sections 924(b), 922(g)(4), and 2261A will be found

within the property described as Attachment A.

                                AUTHORIZATION REQUEST

       44. Based on the foregoing, I request that the Court issue the proposed search warrant,

pursuant to 18 U.S.C. § 2703(c) and Federal Rule of Criminal Procedure 41.




                                                 13
 Case: 4:21-mj-03282-NCC Doc. #: 1 Filed: 12/01/21 Page: 19 of 24 PageID #: 19




       45. I further request that the Court direct T-Mobile to disclose to the government any

information described in Section I of Attachment B that is within its possession, custody, or

control. Because the warrant will be served on T-Mobile, who will then compile the requested

records at a time convenient to it, reasonable cause exists to permit the execution of the requested

warrant at any time in the day or night.

       I state under the penalty of perjury that the foregoing is true and correct.


                                                      Respectfully submitted,



       12/01/2021_______
       DATE                                           Kassandra L. McKenzie
                                                      Special Agent
                                                      Federal Bureau of Investigation


       Subscribed and sworn to before me by reliable electronic means, in accordance with
Federal Rule of Criminal Procedure 4.1, on December 1, 2021.



       _________________________________________
       HONORABLE NOELLE C. COLLINS
       UNITED STATES MAGISTRATE JUDGE




                                                 14
 Case: 4:21-mj-03282-NCC Doc. #: 1 Filed: 12/01/21 Page: 20 of 24 PageID #: 20




                                      ATTACHMENT A

                                   Property to Be Searched

         This warrant applies to records and information associated with the cellular telephone

assigned call number (314) 546-3281 (the “SUBJECT ACCOUNT”), that are stored at premises

controlled by T-Mobile (the “Provider”), headquartered at 4 Sylvan Way, Parsippany, New Jersey,

07054.
Case: 4:21-mj-03282-NCC Doc. #: 1 Filed: 12/01/21 Page: 21 of 24 PageID #: 21




                                    ATTACHMENT B

                              Particular Things to be Seized

 I.      Information to be Disclosed by the Provider

      To the extent that the information described in Attachment A is within the possession,

 custody, or control of the Provider, including any information that has been deleted but is still

 available to the Provider or that has been preserved pursuant to a request made under 18 U.S.C.

 § 2703(f), the Provider is required to disclose to the government the following information

 pertaining to the Account listed in Attachment A for the time period September 1, 2021, to

 September 27, 2021:

         a. The following information about the customers or subscribers of the Account:

                 i. Names (including subscriber names, user names, and screen names);

                ii. Addresses (including mailing addresses, residential addresses, business

                    addresses, and e-mail addresses);

               iii. Local and long distance telephone connection records;

                iv. Records of session times and durations, and the temporarily assigned

                    network addresses (such as Internet Protocol (“IP”) addresses) associated

                    with those sessions;

                v. Length of service (including start date) and types of service used;

                vi. Telephone or instrument numbers (including MAC addresses, Electronic

                    Serial Numbers (“ESN”), Mobile Electronic Identity Numbers (“MEIN”),

                    Mobile Equipment Identifier (“MEID”); Mobile Identification Number

                    (“MIN”), Subscriber Identity Modules (“SIM”), Mobile Subscriber

                    Integrated Services Digital Network Number (“MSISDN”); International

                                              2
 Case: 4:21-mj-03282-NCC Doc. #: 1 Filed: 12/01/21 Page: 22 of 24 PageID #: 22




                        Mobile Subscriber Identity Identifiers (“IMSI”), or International Mobile

                        Equipment Identities (“IMEI”);

                   vii. Other subscriber numbers or identities (including the registration Internet

                        Protocol (“IP”) address); and,

                  viii. Means and source of payment for such service (including any credit card or

                        bank account number) and billing records.

            b. All records and other information (not including the contents of communications)

                relating to wire and electronic communications sent or received by the Account,

                including:

                    i. the date and time of the communication, the method of the communication,

                        and the source and destination of the communication (such as the source

                        and destination telephone numbers (call detail records), email addresses,

                        and IP addresses);

                    ii. information regarding the cell tower and antenna face (also known as

                        “sectors”) through which the communications were sent and received; and,

                   iii. Timing advanced data, per call measurement data, TruCall data, or any

                        other similar data that reflects a precise location of the cellular device.

   II.      Information to be Seized by the Government

         All information described above in Section I that constitutes evidence, fruits, contraband,

and instrumentalities of violations of Title 18, United States Code, Sections 924(b), 922(g)(4), and

2261A, during the period of September 1, 2021 and September 27, 2021.

         Law enforcement personnel (who may include, in addition to law enforcement officers and

agents, attorneys for the government, attorney support staff, agency personnel assisting the

                                                   3
 Case: 4:21-mj-03282-NCC Doc. #: 1 Filed: 12/01/21 Page: 23 of 24 PageID #: 23




government in this investigation, and outside technical experts under government control) are

authorized to review the records produced by the Provider in order to locate the things particularly

described in this Warrant.




                                                 4
 Case: 4:21-mj-03282-NCC Doc. #: 1 Filed: 12/01/21 Page: 24 of 24 PageID #: 24




                    CERTIFICATE OF AUTHENTICITY OF DOMESTIC
             RECORDS PURSUANT TO FEDERAL RULES OF EVIDENCE
                                    902(11) AND 902(13)


        I, _________________________________, attest, under penalties of perjury by the laws
of the United States of America pursuant to 28 U.S.C. § 1746, that the information contained in
this certification is true and correct.        I am employed by T-Mobile, and my title is
_____________________________. I am qualified to authenticate the records attached hereto
because I am familiar with how the records were created, managed, stored, and retrieved. I state
that the records attached hereto are true duplicates of the original records in the custody of T-
Mobile. The attached records consist of ______________ pages/CDs/megabytes. I further state
that:

        a.     all records attached to this certificate were made at or near the time of the
occurrence of the matter set forth by, or from information transmitted by, a person with knowledge
of those matters, they were kept in the ordinary course of the regularly conducted business activity
of T-Mobile, and they were made by T-Mobile as a regular practice; and

        b.     such records were generated by T-Mobile electronic process or system that
produces an accurate result, to wit:

               1.      the records were copied from electronic device(s), storage medium(s), or
file(s) in the custody of T-Mobile in a manner to ensure that they are true duplicates of the original
records; and

               2.      the process or system is regularly verified by T-Mobile, and at all times
pertinent to the records certified here the process and system functioned properly and normally.

        I further state that this certification is intended to satisfy Rules 902(11) and 902(13) of the
Federal Rules of Evidence.




 Date                                  Signature
